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10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                 SAN FRANCISCO DIVISION

13 GOOGLE LLC,                                      CASE NO. 3:20-cv-03845-EMC

14                Plaintiff,                        PLAINTIFF GOOGLE LLC’S
                                                    OPPOSITION TO DEFENDANT
15         vs.                                      SONOS, INC.’S MOTION TO DISMISS
                                                    THE SECOND CAUSE OF ACTION
16 SONOS, INC.,
                                                    Date: Thursday, October 15, 2020
17                Defendant.                        Time: 1:30 p.m.
                                                    Courtroom: 5, 17th Floor
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 1 I.       INTRODUCTION
 2          The inventions claimed in U.S. Patent No. 8,583,489 (the “’489 patent”) are directed to a

 3 specific, ordered combination of elements that meets the requirements for patent eligibility under

 4 35 U.S.C. § 101. They generally require a processing circuit that receives a user specified

 5 selection of media content and selection of a plurality of unique online content sources and user

 6 account data for each of the plurality of unique online content sources, and a network over which

 7 content availability data is requested from the plurality of selected unique online content sources.

 8 They further require that a notification be generated that indicates the selection of media content is

 9 available to at least one user account in the user account data from at least one of the plurality of

10 unique online content sources. Through the methods described in the patent, the inventions will

11 provide a notification to a user’s electronic device when desired media content is available from

12 an online content source to which the user has access. In other words, the claimed inventions of

13 the ’489 patent set forth specific technical solutions to a specific technical problem that is unique

14 to the Internet and other large networks connecting users with disparate content.

15          Defendant Sonos, Inc.’s (“Sonos”) motion to dismiss does not discuss this invention.

16 Sonos instead sets up a strawman, spending pages arguing about a purported invention that simply

17 captures a human information-gathering process. But those arguments have no application to the

18 ’489 patent, which does not merely describe automation of a human information-gathering
19 process. Instead, the claimed inventions of the ’489 patent recite a specific combination of

20 elements, applied to solve technical problems in searching and accessing network-based, online

21 media content sources. Although Sonos may dispute the scope of the ’489 inventions in this

22 litigation, a decision concerning this scope is not appropriately rendered within the context of a

23 motion to dismiss. The allegations in Plaintiff Google LLC’s (“Google”) First Amended

24 Complaint (“FAC”)—including those about the scope of the ’489 claims and the technical

25 problem that the patent solves—are presumed true at the pleading stage. Taking these allegations

26 as true, the ’489 patent is directed to a non-abstract idea and includes inventive concepts. Sonos’

27 attempts to have the Court ignore these allegations should be rejected.

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 1 II.      STATEMENT OF THE ISSUES TO BE DECIDED
 2          Whether, after accepting as true all allegations in the FAC and construing them in the light

 3 most favorable to Google, Sonos has proven by clear and convincing evidence that the ’489 patent

 4 does not claim eligible subject matter under 35 U.S.C. § 101. And whether this determination

 5 should be deferred until after claim construction.

 6 III.     FACTUAL BACKGROUND
 7          The ’489 patent identifies a problem unique to “today’s digital age.” ’489 patent (FAC,

 8 Ex. 8, ECF No. 35-8) at 1:17-24. As stated in the patent, at the time of the filing of the ’489

 9 application in 2011, “media content such as movies, video clips, television shows, music, etc.,

10 [was] becoming available from an ever-increasing number of different content sources.” Id. The

11 ’489 inventors offered a number of technical solutions to problems, which arose at the time with

12 this increase, to improve identification and monitoring of availability of media content spread over

13 a plurality of online content sources. They conceived of methods and systems that “easily and

14 efficiently access voluminous amounts of data that is geographically distributed, at different times,

15 in different formats, with differing access restrictions.” FAC ¶ 42 (ECF No. 35).

16          The USPTO issued the ’489 patent on November 12, 2013. See ’489 patent at 1. The

17 patent includes twenty claims that describe specific systems and methods for determining whether

18 media content is available from different, network-based content sources and notifying a user
19 about the content’s availability. See id. at 1:13-16; 20:25-23:7.

20          Google filed this lawsuit againt Sonos based on allegations that it infringes at least one

21 claim of each of the ’489 patent and four other patents. On August 26, 2020, Google amended its

22 complaint. See generally FAC. The amendments add detailed allegations about the ’489 patent,

23 the particular problem solved by the patent, and distinctions between the ’489 inventions and the

24 prior art. See id. ¶¶ 41-44. On September 9, Sonos filed a motion to dismiss Google’s claim that

25 Sonos infringes the ’489 patent (ECF Nos. 38 and 391). The sole basis for the motion is Sonos’

26 contention that the ’489 patent does not claim eligible subject matter. See Mot. at 1-2.

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28     Sonos filed a corrected version of its motion to dismiss on September 10, 2020 (ECF No. 39).
     The citations to Sonos’ motion throughout this brief are to the corrected version.
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 1 IV.       STATEMENT OF LAW
 2           “[P]atent eligibility can be determined at the Rule 12(b)(6) stage[] . . . when there are no

 3 factual allegations that, taken as true, prevent resolving the eligibility question as a matter of law.”

 4 Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018). But a

 5 party asserting invalidity under 35 U.S.C. § 101 bears the burden of establishing invalidity by

 6 clear and convincing evidence. Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., 880 F.3d

 7 1356,1364 (Fed. Cir. 2018) (citing 35 U.S.C. § 282). The challenger must first demonstrate that,

 8 based on a review of the claims as a whole, the claims are “abstract” and “directed to a patent-

 9 ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 218 & n.3 (2014). For

10 this inquiry, known as Alice step one, “it is not enough to merely identify a patent-ineligible

11 concept underlying the claim;” the challenger must show that the “patent-ineligible concept is

12 what the claim is ‘directed to.’” Rapid Litig. Mgmt. Ltd. v. CellzDirect, Inc., 827 F.3d 1042, 1050

13 (Fed. Cir. 2016). When performing the step one inquiry, the claims at issue must be read in light

14 of the specification to assess whether they are patent eligible. See Data Engine Techs. LLC v.

15 Google LLC, 906 F.3d 999, 1011 (Fed. Cir. 2018). Courts “‘must be careful to avoid

16 oversimplifying the claims’ by looking at them generally and failing to account for the specific

17 requirements of the claims.” McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1313

18 (Fed. Cir. 2016) (quoting In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 611 (Fed. Cir.
19 2016)).

20           If the challenger carries its burden at step one, it must then show that the claims lack an

21 “inventive concept” and that the claim elements involve no more than “well-understood, routine,

22 [and] conventional activity.” Aatrix Software, 882 F.3d at 1128 (quoting Mayo Collaborative

23 Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 73 (2012)). This “inventive concept” inquiry—

24 Alice step two—analyzes contemporaneous historical facts based on “sources properly considered

25 on a motion to dismiss, such as the complaint, the patent, and materials subject to judicial notice.”

26 Id.

27           The Supreme Court has instructed courts to “tread carefully in construing this exclusionary

28 principle lest it swallow all of patent law.” Alice, 573 U.S. at 217. Within that context, a court

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 1 analyzing a computer-based invention must consider whether the “focus of the claims is on [a]

 2 specific asserted improvement in computer capabilities . . . or, instead, on a process that qualifies

 3 as an ‘abstract idea’ for which computers are invoked merely as a tool.” Enfish, LLC v. Microsoft

 4 Corp., 822 F.3d 1327, 1335-36 (Fed. Cir. 2016).

 5 V.       ARGUMENT
 6          A.      Sonos Has Not Proven By Clear and Convincing Evidence That the ’489
 7                  Patent is Invalid Under 35 U.S.C. § 101
 8          Sonos argues that the ’489 patent is directed to an abstract idea, and fails to recite an

 9 inventive concept. It is incorrect on both fronts. The ’489 patent is directed to a specific way of

10 enabling a computer to identify desired media content across a network from multiple unique

11 online content sources, and to notify a user of that content’s availability and the unique online

12 content source to which the user has access and from which that content is available. The patent

13 also discloses identifying to the user content that is related to the media content that the user has

14 identified as desirable. It claims a particular way of solving the stated problem—dealing with the

15 large number of unique sources from which media content is available over the Internet (or other

16 large networks), where content stored at those sources might be accessible only to particular users

17 or to classes of users having a sufficient level of access rights, and the disparity in the release

18 schedules for such content—rather than broadly reciting the ultimate function of solving this
19 stated problem.

20                  1.      The ’489 Claims Are Not Directed to an Abstract Idea
21          In an effort to analogize the present case to others in which patents have been invalidated

22 as patent ineligible, Sonos overgeneralizes the claimed inventions. Sonos characterizes the claims

23 as “an attempt to automate a process that could be (and previously was) performed entirely by a

24 human without a computer.” Mot. at 5. To support this overgeneralization, Sonos argues that the

25 inventions of the ’489 patent are simply an automated version of a parent’s determination of

26 whether a child can watch a movie on a home theater. See id. According to Sonos, “the parent

27 could: [a] receive a selection of media content (e.g., the name of a movie) along with the child’s

28 delivery preferences (e.g., streaming accounts to which she has access); [b] contact the various

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 1 streaming platforms to figure out which ones have the movie; [c] receive their responses; and [d]

 2 notify her child of the answer. Setting aside the generic computing components recited in claim

 3 15, this human information-gathering process falls squarely within the scope of claim 15.” Id.

 4 (emphasis omitted).

 5          Sonos’ human information-gathering analogy fails to address the specific teachings of the

 6 ’489 patent and the language of the asserted claims. In Sonos’ analogy, a child asks a parent to

 7 watch a movie on a home theater at a particular time. The parent then uses a computer to search

 8 streaming platforms individually and informs the child that the selection is or is not available. If

 9 the movie is not available, the parent notifies the child and that is the end of the inquiry. Rather

10 than support Sonos’ argument, this hypothetical highlights a distinction between the ’489

11 inventions and those claims found patent ineligible in the cases upon which Sonos relies. See

12 Mot. at 6-8 (describing the cases Sonos relies on). Unlike the cases on which Sonos relies, the

13 “human process” hypothetical that it proposes in its motion itself involves using a computer to

14 search online content sources. Id. at 5-6. Thus, by its own proposed analogy, Sonos

15 acknowledges that the ’489 inventions are not merely automating a process previously performed

16 by hand or in the human mind—and that the inventions are not automating steps that “could all be

17 performed by humans without a computer.” Mot. at 5 (emphasis added) (quoting Mortg. Grader,

18 Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1324 (Fed. Cir. 2016)).
19          More fundamentally, Sonos’ analogy—and its characterizations throughout its motion—

20 ignores aspects of the ’489 inventions. The notifications in the ’489 claims are not the same as a

21 mother simply informing her child that a movie is available to stream, in which the answer may be

22 that the identified movie is unavailable or that the movie is available but cannot be accessed by the

23 child. Some implementations of the inventions described in the ’489 specification provide for a

24 notification to be issued as content availability changes: “As media content becomes available or

25 unavailable, notifications may be generated using the content availability data and sent to one or

26 more user electronic devices. . . . For example, a user may receive a notification when media

27 content becomes available” or when there is “a change in accessibility data for media content that

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 1 is already available (e.g., a movie is now available for free instead of via pay-per-view, etc.).”

 2 ’489 patent at 17:18-28. This is not a generic human process.

 3          Nor do humans have the capacity to search a “plurality of unique online content sources”

 4 in the manner described in the ’489 patent. ’489 patent at 22:31. The mother searching for her

 5 child’s movie selection will search one source, then another, then another. The ’489 patent

 6 discloses the aggregation of media content availability information from unique content sources in

 7 response to receiving a selection of media content from users. Id. at 4:49-61. This aggregation,

 8 which increases efficiency and accuracy through focused searches, addresses problems stemming

 9 from humans’ limitations in manually searching for media content. As such, Sonos’ attempt to

10 reduce the ’489 patent to mere automation of a human information-gathering process fails to

11 account for the actual inventions disclosed and claimed therein.

12          Sonos’ arguments are also based on an incorrect reading of the ’489 specification. Sonos

13 claims that the ’489 patent addresses “a human problem, not an Internet-centric one” because the

14 specification allegedly “expressly talks about the need to collect information from non-network

15 sources (e.g., movies that are playing in a theater, broadcast on television, and/or released on

16 physical media).” Mot. at 8-9. According to Sonos, this “contradicts Google’s assertion that the

17 problem [addressed by the ’489 patent] is ‘uniquely associated with the Internet and other large

18 networks.’” Id. Sonos is incorrect. The ’489 patent clearly states that “content sources 108, 110”
19 are “electronic devices,” and “content sources 108, 110 may be computer servers (e.g., FTP

20 servers, file sharing servers, web servers, etc.) or other devices that provide media content to client

21 102 via network 106.” ’489 patent at 4:5-10. The ’489 patent further states that “[i]n some cases,

22 content sources 108,110 may not provide media content via network 106, but provide information

23 about the availability of other media formats. For example, a content source may provide a movie

24 schedule, a television schedule, an electronic programming guide, availability information

25 regarding a physical media format (e.g., a DVD, a Blu-Ray, a VHS tape, etc.), or other availability

26 data to server 104.” Id. at 4:10-17. Therefore, even if the media itself is not stored in a network,

27 the ’489 patent is clear that the information used to identify media content and to notify a user of

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 1 its availability is network-based. This, again, reinforces the network-centric nature of the ’489

 2 patent and its claimed solution to the stated problem.

 3          After misconstruing the scope of the patent, Sonos attempts to analogize the ’489 claims to

 4 those that courts have found patent ineligible. But these arguments are similarly unavailing.

 5 Neither Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350 (Fed. Cir. 2016), nor

 6 FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089 (Fed. Cir. 2016), nor Interval Licensing

 7 LLC v. AOL, Inc., 896 F.3d 1335 (Fed. Cir. 2018), nor Intellectual Ventures I LLC v. Erie

 8 Indemnity Co., 850 F.3d 1315 (Fed. Cir. 2017), addressed claims like those at issue here.

 9          In attempting to analogize the present claims to those at issue in Electric Power, Sonos

10 contends that “claim 15 recites the ‘familiar class’ of abstract processes of gathering information

11 and presenting the results.” Mot. at 7. But in Electric Power, the claims merely recited “a process

12 of gathering and analyzing information of a specified content, then displaying the results” without

13 “any particular assertedly inventive technology for performing those functions.” 830 F.3d at

14 1354. In concluding that the Electric Power claims were patent ineligible, the Federal Circuit

15 referenced the underlying district court’s reasoning that, “rather than claiming ‘some specific way

16 of enabling a computer to monitor data from multiple sources across an electric power grid,’ some

17 ‘particular implementation,’ [the invalidated claims] ‘purport to monopolize every solution to the

18 problem’—any way of effectively monitoring multiple sources on a power grid.” Id. at 1356.
19          This rationale is inapplicable to the claims in the ’489 patent, which are directed to

20 “specific way[s] of enabling a computer,” Electric Power, 830 F.3d at 1356, to provide a

21 particular solution to a problem—namely, specific ways to efficiently identify content media

22 online. The claims do not purport to monopolize the identification of online media content. The

23 ’489 patent covers, for example, methods that include determining the accessibility of selected

24 media content to a particular user and notifying a user that selected media content is available.

25 See, e.g., ’489 patent at 20:26-47 (claim 1), 21:1-15 (claim 5), 21:23-47 (claim 8), 21:64-22:12

26 (claim 12), 22:21-43 (claim 15). And Sonos nowhere explains how the Electric Power rationale

27 could apply to claims with the further requirement to identify related content to that selected by

28 the user (see, e.g., id. at 21:1-15 (claim 5), 21:64-22:12 (claim 12)), or to allow the user to set a

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 1 threshold price below which the user would desire to obtain that media content (see, e.g., id. at

 2 20:48-54 (claim 2), 21:23-47 (claim 8), 22:44-51 (claim 16)). Thus, Electric Power does not

 3 apply to the present case.

 4          Sonos’ reliance on the Federal Circuit’s decision in FairWarning, in which the claims at

 5 issue were directed to the abstract “concept of analyzing records of human activity to detect

 6 suspicious behavior,” is similarly misplaced. FairWarning, 839 F.3d at 1093 (quoting

 7 FairWarning IP, LLC v. Iatric Sys., Inc., No. 8:14-2685, 2015 WL 3883958, at *2 (M.D. Fla. June

 8 24, 2015)). There, the patent covered “the broad concept of monitoring audit log data,” and “[t]he

 9 claims . . . d[id] not propose a solution or overcome a problem specifically arising in the realm of

10 computer [technology].” Id. at 1097 (quotation marks omitted). To the extent the claims were

11 improvements, “it [wa]s th[e] incorporation of a computer, not the claimed rule, that purportedly

12 ‘improve[d] [the] existing technological process’ by allowing the automation of further tasks.” Id.

13 at 1095 (quoting Alice, 573 U.S. at 223). In finding these claims patent ineligible, the Federal

14 Circuit explained that “merely presenting the results of abstract processes of collecting and

15 analyzing information, without more (such as identifying a particular tool for presentation), is

16 abstract as an ancillary part of such collection and analysis.” FairWarning, 839 F.3d at 1093

17 (quoting Electric Power, 830 F.3d at 1354).

18          Again, this reasoning does not apply to the ’489 patent, which provides a particular
19 solution to the problem of determining the availability of content media distributed across unique

20 content sources throughout a computing network. FAC ¶ 44. Its claims are directed to a specific

21 way of using a computer to address the “increase in the number of different content sources,

22 combined with the increase in disparate release schedules for media content,” which “often leads

23 to confusion among consumers.” ’489 patent at 1:30-33. The claimed inventions use targeted

24 searching of aggregated content and specific computer processes, including: receiving a selection

25 of media content and content delivery preferences, including a selection of a plurality of unique

26 online content sources and user account data associated with these sources; searching over a

27 network for media content based on the selected unique online content sources and associated user

28 data; and receiving content availability data in response. See, e.g., id. at 2:64-3:15, 4:5-32, 4:33-

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 1 61, 5:11-29, 6:62-7:5, 7:34-45; see also id. at 20:26-47, 21:23-47, 22:21-43. And based on these

 2 targeted searches, the inventions provide for a “particular tool for present[ing],” FairWarning, 839

 3 F.3d at 1093, the results: namely, an “electronic notification for a user electronic device.” ’489

 4 patent at 4:62-5:10, 7:46-8:19, 8:34-9:7. By, for example, targeting searches at aggregated content

 5 associated with specified unique online content sources to which the user has access, and

 6 responsively identifying content known to be desirable to the user when it becomes available, the

 7 ’489 inventions employ specific tools to increase the efficiency and usefulness of online media

 8 searches across disparate sources. This is not at all like patenting “the broad concept of

 9 monitoring audit log data.” FairWarning, 839 F.3d at 1097.

10          The fact that the problem addressed by the ’489 patent is one faced by humans, who cannot

11 manipulate large amounts of data that become available at different times, does not render patent

12 ineligible the solution, which improves computer operation through the specific usage of certain

13 data fields, including unique online content sources, user account data, prioritization selection,

14 pricing, and the potential for identification of related content. The ’489 patent presents a specific

15 solution to a particular problem, using specific network-related identified data fields—“the name

16 of the content source, an address for the content source on the network, account information for

17 the content source, whether the content source is a preferred source, or a priority rank for the

18 content source,” for example (’489 patent at 5:54-57)—and network-based searching. It does not
19 therefore raise the issues the Federal Circuit addressed in Electric Power and FairWarning. In

20 other words, this is not a case where the patent is directed to the broader function of content

21 identification and selection, or merely automates a human’s search for media content over the

22 Internet.

23          Interval Licensing and Intellectual Ventures likewise addressed patent claims that bear

24 little resemblance to those in the ’489 patent. In Interval Licensing, the court held that “providing

25 someone an additional set of information without disrupting the ongoing provision of an initial set

26 of information is an abstract idea.” 896 F.3d at 1344. The claims at issue “discuss[ed] only broad

27 functions and [we]re not directed to any technological improvement for performing those

28 functions.” Id. at 1346. In Intellectual Ventures, the patent at issue “claimed [the] creation of an

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 1 index used to search and retrieve information stored in a database.” 850 F.3d at 1327. The court

 2 held this abstract idea patent ineligible, but was careful to distinguish the idea from patent claims

 3 that are “drawn to a specific search architecture that improves how computer databases function.”

 4 Id. at 1327-28.

 5          Sonos elides this distinction in its motion. The ’489 claims relate to a particular way to

 6 search for particular kinds of network-based information, but they are not directed to searching

 7 and retrieving information generally.2 The patent employs a specific tool (targeted searches based

 8 on content delivery preferences) to provide a specific solution (an electronic notification that is

 9 generated when content is available) to a specific problem (media content spread across different

10 sources in a network having different access rights and non-synchronized times of availability).

11 Thus, the ’489 patent is patent eligible according to the case law relied upon by Sonos.

12          Indeed, claims of this type—directed to how to implement the idea of improving

13 identification of content media over the Internet, rather than to the idea itself—have been found

14 patent eligible. In Finjan, Inc. v. Blue Coat Systems, Inc., for example, the Federal Circuit found a

15 method directed to providing computer security by scanning a downloadable (i.e., an executable

16 application program) and attaching the results of that scan to the downloadable itself in the form of

17 a “security profile” to be patent eligible. 879 F.3d 1299, 1303-06 (Fed. Cir. 2018). Although it

18 had previously deemed computerized virus-screening an abstract idea, the Federal Circuit found
19 that the claimed security profile was based on a “behavior-based” virus scan, as compared to

20 “code-matching” virus scans—a distinction which improved computer functionality. Id. at 1304.

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     Sonos rejects Google’s allegations that the ’489 patent addresses “the ability to easily and
23 efficiently access voluminous amounts of data that is geographically distributed, at different times,

24 in different formats, with differing access restrictions” and that this problem is “uniquely
   associated with the Internet and other large networks.” Mot. at 8 (quoting FAC ¶ 42). A
25 defendant cannot succeed in a Rule 12 motion by disputing the allegations in the pleading. See
   Aatrix Software, 882 F.3d at 1125. And Sonos’ only answer to this fundamental defect in its
26 arguments is to characterize Google’s allegations as “an argument about how the problem should
   be characterized.” Mot. at 9 n.2 (emphasis omitted). But, under Aatrix, Google’s factual
27 allegations regarding the problem stated in the ’489 patent, and the inventive solution to that

28 problem, as set forth in Google’s Amended Complaint (FAC ¶ 42), must be deemed true for the
   purposes of deciding Sonos’ motion notwithstanding Sonos’ attempts to ignore them.
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 1 The specific behavior-based improvement, the Federal Circuit explained, distinguished the claims

 2 from those failing to claim a particular way of programming or designing the software, but instead

 3 merely claiming the resulting system or being drawn to the idea itself. Like the ’489 inventions at

 4 issue here, the Finjan invention was “directed to a non-abstract improvement in computer

 5 functionality, rather than [an] abstract idea . . . writ large.” Id. at 1305.

 6          Similarly, in DDR Holdings, LLC v. Hotels.com, L.P., the Federal Circuit held patent

 7 eligible claims that “specify how interactions with the Internet are manipulated to yield a desired

 8 result—a result that overrides the routine and conventional sequence of events ordinarily triggered

 9 by the click of a hyperlink.” 773 F.3d 1245, 1258 (Fed. Cir. 2014). This, the Court explained,

10 was different than “broadly and generically claim[ing] ‘use of the Internet’ to perform an abstract

11 business practice.” Id. The invention at issue—which sent an Internet user who clicks on an

12 advertisement to a hybrid webpage, with the look and feel of the host site, but with information

13 from a third-party advertiser—was not particularly “ technologically complex.” Id. at 1259. But it

14 was “a specific way to . . . solve a problem faced by websites on the Internet.” Id. Therefore, it

15 was patent eligible.

16          The Federal Circuit has thus drawn a line between inventions directed to abstract ideas and

17 inventions directed to specific, non-abstract implementations that improve an idea and present a

18 limited, specific solution. The claimed inventions of the ’489 patent fall into the latter category.
19 They do not therefore recite an abstract idea under Alice step one, and that is a sufficient reason to

20 deny Sonos’ motion to dismiss in its entirety. See Finjan, 879 F.3d at 1306 (“There is no need to

21 set forth a further inventive concept for implementing the invention. The idea is non-abstract and

22 there is no need to proceed to step two of Alice.”).

23                  2.      The ’489 Patent Recites Inventive Concepts
24          If the Court decides to proceed past Alice step one, Sonos’ motion should still be denied.

25 The ’489 patent recites inventive concepts, satisfying Alice step two, and Sonos has not

26 demonstrated otherwise.

27          At step two, Sonos argues “that neither functional steps that are part of an abstract idea nor

28 generic computer elements can provide an inventive concept under the second step of the Alice

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 1 analysis.” Mot. at 11. It then asserts that “the elements of claim 15 include only generic

 2 functional steps that are part of the abstract idea (like receiving user input, requesting information,

 3 and then presenting the results) and generic computer elements (like ‘one or more processors,’ a

 4 ‘network,’ and an ‘electronic device’).” Id. Again, this is incorrect and ignores the claim

 5 language as a whole. Sonos’ oversimplification completely dismisses the inventive concept of the

 6 ’489 patent. As discussed above, the patent discloses the use of specific information—i.e.,

 7 identification of desired media content and “content delivery preferences,” which are premised on

 8 a selection of a plurality of unique online content sources and user account data for those

 9 sources—to search for available content over a network, regardless of whether that content is

10 available at the time that the media content was initially identified. See, e.g., ’489 patent at 22:21-

11 43.

12          Even if the ’489 patent was directed to an abstract idea, inclusion of these inventive

13 concepts renders its claims patent eligible. In Bascom Global Internet Servs., Inc. v. AT&T

14 Mobility LLC, the Federal Circuit analyzed a patent that was directed to filtering content on the

15 Internet—a concept well-known in the art. 827 F.3d 1341, 1348 (Fed. Cir. 2016). However, the

16 Bascom claims were held patent eligible because they did not merely recite the abstract idea of

17 filtering content along with the requirement to perform it on the Internet, or otherwise preempt

18 filtering content on the Internet. Id. at 1350. Instead, the Bascom claims recited a specific,
19 discrete implementation of filtering content. They “carve[d] out a specific location for the

20 filtering system (a remote ISP server) and require[d] the filtering system to give users the ability to

21 customize filtering for their individual network accounts,” id. at 1352, much like the ’489 claims

22 define specific methods and particular tools for media content identification and notification. In

23 Bascom, inclusion of this “inventive concept . . . transform[ed] the abstract idea of filtering

24 content into a particular, practical”—and patent eligible—“application of that abstract idea.” Id.

25          In Mobile-Plan-It LLC v. Facebook Inc., the court likewise rejected a Section 101

26 challenge because, for the purposes of the pleading stage, the patent claims included inventive

27 concepts. No. 14-1709, 2015 WL 1801425, at *4 (N.D. Cal. Apr. 20, 2015). There, the patentee

28 claimed an “invention [relating to] proxy communication between meeting attendees using a

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 1 wireless communication device.” Id. at *1 (quotation marks omitted). The court acknowledged

 2 that “conceptually similar ‘proxies’ may have been employed for anonymous communication

 3 purposes in a variety of other historical contexts.” Id. at *4. But it nevertheless found that “the

 4 specific problem purportedly addressed by the . . . patent [in suit] relates to characteristics of email

 5 communications, and to particular issues arising among conference attendees.” Id. Again, this is

 6 similar to the ’489 patent, which addresses a problem specific to “today’s digital age[:] media

 7 content such as movies, video clips, television shows, music, etc., is becoming available from an

 8 ever-increasing number of different content sources.” ’489 patent at 1:17-19. As the Mobile-

 9 Plan-It court explained, particular applications of ideas, as seen in the ’489 patent, are patent

10 eligible inventive concepts. See Mobile-Plan-It, 2015 WL 1801425, at *4.

11           The ’489 patent’s inventive concepts are also evidenced by the prosecution history.3

12 During prosecution, the inventors focused on specific requirements of the claimed system that

13 distinguished it over the prior art. In particular, the inventors distinguished the inventions of the

14 ’489 patent from U.S. Patent Publication No. 2008/0295131 (“Grover”), which failed to disclose a

15 method for selecting a plurality of unique online content sources specified by a user interface

16 device and user account data for each of the plurality of unique online content sources. FAC ¶ 44

17 (citing Amendment and Reply Under 37 C.F.R. 1.111, dated March 29, 2013, at 9); Mot. at 13-14.

18 The inventors further distinguished Grover for failing to disclose using content availability data to
19 generate a notification that indicates that the selection of media content is available to at least one

20 user account in the user account data. FAC ¶ 44. These identified distinctions over prior art—

21 relying on the use of content availability data identified using both a plurality of unique online

22 content sources specified by a user interface device and user account data for each such unique

23 content source, along with the generation of a notification (including when content media becomes

24 available at a later time)—are directed to an improvement in computer operation, rather than

25 merely use of a computer as a tool.

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28       Sonos argues that the Court can consider the ’489 patent’s prosecution history when deciding
     its motion to dismiss. See Mot. at 13-14 n.5.
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 1           Sonos argues in its motion that both Grover and another piece of prior art, U.S. Patent

 2 Publication No. 2005/0119936 (“Buchanan”), “disclosed methods for delivering media content to

 3 users using the same generic components identified in the ’489 Patent.” Mot. at 14. But the ’489

 4 inventions are not just methods for delivering media content to users using generic components,

 5 and neither Grover nor Buchanan discloses the patent’s inventive concepts. Grover discloses

 6 delivery of media content in a way that allows a user to view content at a number of locations.

 7 FAC ¶ 44. Buchanan discloses an advertiser sponsoring media content, such that the advertiser

 8 pays for content if the viewer first watches one or more ads. Id. Neither publication discloses a

 9 method of relying on the use of content availability data identified using both a plurality of unique

10 online content sources specified by a user interface device and user account data for each such

11 unique content source, and generating a notification (including when content media becomes

12 available at a later time).

13           And Sonos is again disputing factual allegations set forth in the FAC. Google has alleged

14 that the inventors of the ’489 patent distinguished their invention over the Grover and Buchanan

15 prior art references cited by the examiner during prosecution. FAC ¶ 44. Notwithstanding, Sonos

16 argues that these references “show that the claimed elements were well-understood in the art.”

17 Mot. at 13. However, while making this conclusory assertion, Sonos fails to offer any evidence

18 that the claimed features of the ’489 patent, as described in the FAC, the ’489 patent, and the file
19 history, were well-understood, routine, or conventional activities at the time of the filing of the

20 ’489 application.4 Without evidence for its conclusory claims, Sonos’ repeated attempts to

21 controvert Google’s factual allegations are deficient; the allegations in the FAC establish that there

22 are questions of fact that mandate denial of Sonos’ motion.

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      “Whether the claim elements or the claimed combination are well-understood, routine, [or]
26 conventional is a question of fact,”Aatrix Software, 882 F.3d at 1128, assessed at the time of the
   invention, see Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1318-19 (Fed. Cir. 2019). Sonos’
27 motion includes no factual evidence supporting its contention that the ’489 elements were well-

28 understood, and its argument on that point instead disputes both the allegations in Google’s FAC
   and the statements in the prosecution history. Compare Mot. at 13-14 with FAC ¶ 44.
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 1          Sonos mischaracterizes the scope of the ’489 claims again when it argues that the

 2 allegations distinguishing the ’489 invention over the prior art are insufficient because “generating

 3 a notification based on collection of data” or “fundamental economic practice[s]” are not patent

 4 eligible. Mot. at 14. Courts consider “all claim elements, both individually and in combination”

 5 when determining eligibility. Alice, 573 U.S. at 218 n.3; see also Bascom, 827 F.3d at 1350

 6 (“[A]n inventive concept can be found in the non-conventional and non-generic arrangement of

 7 known, conventional pieces.”). And as discussed above, the ’489 patent does not simply claim

 8 notifications or price thresholds devoid of context or additional elements. The inventions describe

 9 how to implement a specific computer-based solution for improving the identification of content

10 media available from unique sources on a network that includes these elements. That is inventive.

11 See Trading Techs. Int’l, Inc. v. CQG, Inc., 675 F. App’x 1001, 1004 (Fed. Cir. 2017) (affirming a

12 holding that a specifically described “static price index” is “an inventive concept that allows

13 traders to more efficiently and accurately place trades using [an] electronic trading system” when

14 the index uses a “specific structure and concordant functionality” that is not a “conventional

15 computer implementation[] of known procedures”).

16          Finally, the ’489 claims do not raise preemption questions that prevent others from

17 searching for online content; there are specific requirements in the claims regarding how a

18 computer operates to identify content availability data. Thus, with respect to Alice step two, the
19 ’489 claims are closer to those at issue in DDR Holdings—which that court found to be a technical

20 solution to a problem unique to the Internet (creation of a hybrid webpage to avoid loss of page

21 views) that “solved that problem in a particular, technical way,” Bascom, 827 F.3d at 1351

22 (discussing DDR Holdings)—than those at issue in Content Extraction & Transmission LLC v.

23 Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343 (Fed. Cir. 2014), cited by Sonos (see Mot. at 5, 15).

24 The claims at issue in Content Extraction were “drawn to the basic concept of data recognition and

25 storage.” 776 F.3d at 1347. As the Federal Circuit explained in Bascom, the problem with “[t]he

26 claims in Content Extraction” was that they broadly covered “use of the claimed abstract idea on

27 well-known generic scanning devices and data processing technology.” Bascom, 827 F.3d at

28 1352. The specific solution in DDR Holdings, which addressed “a problem arising in the realm of

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 1 computer networks, and provide[d] a solution entirely rooted in computer technology,” was found

 2 not to have the same problem. Id. at 1346, 1351. That is the case here: the ’489 patent provides a

 3 specific solution to a specific problem that arises when dealing with the large number of network-

 4 based sources from which media content is available over the Internet, and does not broadly

 5 preempt searching for media content.

 6          The scope of the ’489 claims is closer to those at issue in Bascom, as compared to those

 7 broadly preempting use of a given idea on the Internet. In Bascom, the claims at issue “d[id] not

 8 preempt the use of the abstract idea of filtering content on the Internet or on generic computer

 9 components performing conventional activities.” 827 F.3d at 1352. They “carve[d] out a specific

10 location for [a] filtering system (a remote ISP server) and require[d] the filtering system to give

11 users the ability to customize filtering for their individual network accounts.” Id. In cases where

12 claims have been held patent ineligible, the claims were generally directed to “an abstract idea”

13 that merely made use of “the Internet, on a generic computer.” Intellectual Ventures I LLC v.

14 Capital One Bank (USA), 792 F.3d 1363, 1371 (Fed. Cir. 2015); see also Bascom, 827 F.3d at

15 1352. The ’489 patent claims specific methodologies for improving identification of available

16 content and increasing the accuracy of Internet/network search inquiries returned to a user; it does

17 not cover all manner of media content searching or generic use of the Internet.

18          Therefore, the claims of the ’489 patent recite an inventive concept and are patent eligible
19 under Alice step two.

20          B.      Sonos’ Motion Raises Prospective Claim Construction Disputes
21          The arguments in Sonos’ motion are predicated on its attempt to improperly broaden the

22 scope of the ’489 patent’s claims. Because Sonos’ arguments raise disagreement over the

23 meaning of claim terms and the scope of the claimed invention, this dispute raises questions of

24 claim construction.

25          Determining “patent eligibility requires a full understanding of the basic character of the

26 claimed subject matter.” Bancorp Servs., L.L.C. v. Sun Life Assurance Co. of Can. (U.S.), 687

27 F.3d 1266, 1273-74 (Fed. Cir. 2012). Accordingly, where “claim construction is necessary to

28 fully understand the basic character of the claimed subject matter, . . . dismissal [is] premature at

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 1 th[e pleading] stage.” Khn Sols. Inc. v. Vertisense Inc., No. 16-962, 2016 WL 5725013, at *2

 2 (N.D. Cal. Sept. 30, 2016); see also id. (“[A] court may need to defer the § 101 analysis until after

 3 claim construction when a patentee identifies terms requiring construction and explains how

 4 resolution of construction disputes is material to resolving the § 101 challenge.”). Here, to the

 5 extent that Sonos seeks to describe the claimed inventions as broadly directed to “generic

 6 functional steps that are part of [an] abstract idea” and “generic computer elements,” Mot. at 11,

 7 this assertion raises potential claim construction questions associated with the ’489 claims. For

 8 example, the asserted claims recite content delivery preferences including “a plurality of unique

 9 online content sources” and receiving “over a network” content availability data from these

10 sources, which confirm that the ’489 patent is directed to computing-network-specific problems

11 rather than those traditionally addressed in a non-computing domain. See, e.g., ’489 patent at

12 22:24-43; see also id. at 20:24-47. The ’489 patent claims further specify that the “content

13 availability data” indicates “whether the selection of media content is available to a user account

14 in the user account data,” with this information being provided in a “notification.” Id. at 22:24-43;

15 see also id. at 2:1-11. These terms relate to network-based data that is specific to unique online

16 content sources and user-specified account information. Sonos, by attempting to expand the

17 claims to cover a “human information-gathering process,” Mot. at 5, construes these terms too

18 broadly. To the extent Sonos wishes to press its alternative constructions, which lack basis in the
19 patent claims, specification, prosecution history, or any other evidence, this at least raises claim

20 construction questions that should not be addressed at the motion to dismiss stage. See Khn Sols.,

21 2016 WL 5725013, at *2.

22 VI.      CONCLUSION
23          Google respectfully submits that Sonos’ motion to dismiss should be denied. If the Court

24 does grant Sonos’ motion, Google respectfully requests leave to further amend its complaint. See

25 Aatrix Software, 882 F.3d at 1127 (“[A] proposed amended complaint, which alleges facts

26 directed to the inventive concepts in [the] claimed invention, would not be futile.”).

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